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       EXHIBIT 69
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                                                                                  Page 1
·1· · · · · ·DEPOSITION OF LAURIE OLIVER

·2· · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · FOR THE DISTRICT OF DELAWARE
·3· · · ____________________________________________

·4
· · · · THOMSON REUTERS ENTERPRISE
·5· · · CENTRE GMBH and WEST
· · · · PUBLISHING CORPORATION,
·6
· · · · · · · · · · · Plaintiffs/
·7· · · · · · · · · · Counterdefendants,

·8· · · ·vs.· · · · · · · · · · · · · · · C.A. No.
· · · · · · · · · · · · · · · · · · · · 20-613-LPS
·9· · · ROSS INTELLIGENCE INC.,

10· · · · · · · · · · Defendant/
· · · · · · · · · · · Counterclaimant.
11
· · · · ___________________________________________
12

13

14· ·HIGHLY CONFIDENTIAL PURSUANT TO THE PROTECTIVE
· · · · · · · · · · · · · ORDER
15

16· · · ·VIDEOTAPED DEPOSITION OF LAURIE OLIVER

17· · · · · · · ·MINNEAPOLIS, MINNESOTA

18· · · · · · · · · ·March 30, 2022

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23· · · Reported by:

24· · · KATHY L. STEWART

25· · · JOB NO. 208916
     Case 1:20-cv-00613-SB Document 343-3 Filed 02/06/23 Page 3 of 13 PageID #: 90585

                                                                                  Page 2
·1· · · · DEPOSITION OF LAURIE OLIVER
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·4
·5· · · · · · · · March 30, 2022
·6· · · · · · · · · ·9:36 a.m.
·7
·8
·9· ·Videotaped deposition of LAURIE OLIVER, held
10· ·at the offices of Regus, 100 S. Fifth
11· ·Street, Suite 1900, Minneapolis, Minnesota,
12· ·before Kathy Stewart, a Notary Public of the
13· ·State of Minnesota.
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·1· · · · DEPOSITION OF LAURIE OLIVER
·2· ·A P P E A R A N C E S:
·3
·4
·5
·6· ·KIRKLAND & ELLIS
·7· ·Attorneys for Plaintiff
·8· ·601 Lexington Avenue
·9· ·New York, New York 10022
10· ·BY: JOSHUA SIMMONS, ESQ.
11
12
13· ·CROWELL & MORING
14· ·3 Embarcadero Center
15· ·San Francisco, California 94111
16· ·BY: KAYVAN GHAFFARI, ESQ.
17· · · ·DIANE AGUIRRE-DOMINGUEZ, ESQ.
18
19
20· ·ALSO PRESENT:
21· ·Jacob Arvold, Videographer
22
23
24
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     Case 1:20-cv-00613-SB Document 343-3 Filed 02/06/23 Page 5 of 13 PageID #: 90587

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·6· ·Mr. Simmons...........................· 317

·7· ·Mr. Ghaffari..........................· 325

·8· ·Mr. Simmons...........................· 340

·9· ·Mr. Ghaffari..........................· 341

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· · ·Exhibit 2, Deposition Notice to Thomson
14· ·Reuters Enterprise Centre GMBH,· · ·page 11

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· · ·Publishing,· · · · · · · · · · · · ·page 11
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· · ·Exhibit 4, LinkedIn Page,· · · · · ·page 24
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18· ·Second Supplemental Responses and Objectiosn
· · ·to Defendant and Counterclaimant's
19· ·Interrogatory No. 1,· · · · · · · · page 42

20· ·Exhibit 6, Classification and Routing Engine
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· · ·Exhibit 7, Summarization Manual, Judicial
22· ·Editorial,· · · · · · · · · · · · · page 72

23· ·Exhibit 8, Editorial Manual, Policies and
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·2· ·Exhibit 9, Training Manual,· · · · ·page 107

·3· ·Exhibit 10, Features Widget Instructions,
· · · · · · · · · · · · · · · · · · · · ·page 175
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·5· ·Agreement,· · · · · · · · · · · · · page 182

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·8· ·Exhibit 13, Native Document Placeholder,
· · ·TR-0036335 (Electronic Exhibit Contained on
·9· ·USB Drive),· · · · · · · · · · · · ·page 186

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· · ·Subdivisions of Classification Scheme, Fifth
12· ·Edition (April, 1916),· · · · · · · page 216

13· ·Exhibit 16, JCaRE Background,· · · ·page 236

14· ·Exhibit 17, Classifiers' Encyclopedia,
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23· ·Exhibit 24, Memorandum #803,· · · · page 298

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                                                                               Page 7
·1· · · · DEPOSITION OF LAURIE OLIVER
·2· · · · · · VIDEOGRAPHER:· This is the start of
·3· ·media labeled number 1 of the video recorded
·4· ·deposition of Laurie Oliver in the matter
·5· ·Thomson Reuters Enterprise Centre GMBH,
·6· ·et al., vs. Ross Intelligence Inc. in the
·7· ·United States District Court for the
·8· ·District of Delaware, Case Number 20-613
·9· ·(LPS).
10· · · · · · This deposition is being held at
11· ·100 South Fifth Street, 19th floor,
12· ·Minneapolis, Minnesota on March 30th, 2022.
13· ·The time is approximately 9:36 a.m.
14· · · · · · My name is Jacob Arvold.· I am the
15· ·legal video specialist from TSG Reporting,
16· ·Inc., headquartered at 228 East 45th Street,
17· ·Suite 810, New York, New York 10017.
18· · · · · · The court reporter is Kathy Stewart
19· ·in association with TSG Reporting.
20· · · · · · Counsel, please introduce
21· ·yourselves.
22· · · · · · MR. GHAFFARI:· My name is Kayvan
23· ·Ghaffari from the law firm of Crowell &
24· ·Moring, along with my colleague, Diane
25· ·Aguirre-Domingu, on behalf of Defendant/
     Case 1:20-cv-00613-SB Document 343-3 Filed 02/06/23 Page 9 of 13 PageID #: 90591

                                                                                  Page 8
·1· · · · · · DEPOSITION OF LAURIE OLIVER
·2· · · ·Counterplaintiff Ross Intelligence Inc.
·3· · · · · · · · MR. SIMMONS:· My name is Joshua
·4· · · ·Simmons.· With me is Jennifer Gibbins.· We
·5· · · ·are both from Kirkland & Ellis.· We are also
·6· · · ·joined by Jean-Pierre Giuliano from
·7· · · ·Thomson Reuters, in-house counsel, and we
·8· · · ·represent the Plaintiffs and the witness.
·9· · · · · · · · VIDEOGRAPHER:· Will the court
10· · · ·reporter please swear in the witness.
11
12· · · · · · · · · · LAURIE OLIVER,
13· · · ·called as a witness, was duly sworn and
14· · · · · · · · ·testified as follows:
15
16· · · · · · · · · · ·EXAMINATION
17· · · ·BY MR. GHAFFARI:
18· ·Q.· Good morning, Ms. Oliver.
19· ·A.· Good morning.
20· ·Q.· How are you doing today?
21· ·A.· I am good.
22· ·Q.· Would you please state and spell your name
23· · · ·for the record.
24· ·A.· Laurie Oliver, L-A-U-R-I-E· O-L-I-V-E-R.
25· ·Q.· And would you please also state your
  Case 1:20-cv-00613-SB Document 343-3 Filed 02/06/23 Page 10 of 13 PageID #: 90592

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·1· · · · · · DEPOSITION OF LAURIE OLIVER
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                                                                                Page 345
·1· · · · ·DEPOSITION OF LAURIE OLIVER

·2

·3· · STATE OF MINNESOTA

·4· · · · · · · · · · · · · ·CERTIFICATE

·5· · COUNTY OF RICE

·6

·7· · I, Kathy Stewart, hereby certify that I
· · · reported the deposition of LAURIE OLIVER on
·8· · the 30th day of March, 2022, and that the
· · · witness was by me first duly sworn to tell
·9· · the truth and nothing but the truth
· · · concerning the matter in controversy
10· · aforesaid;
· · · · · · · ·That I was then and there a Notary
11· · Public in and for the County of Rice, State
· · · of Minnesota; that by virtue thereof I was
12· · duly authorized to administer an oath;
· · · · · · · ·That the foregoing transcript is a
13· · true and correct transcript of my
· · · stenographic notes in said matter,
14· · transcribed under my direction and control;
· · · · · · · ·That the cost of the original has
15· · been charged to the party who noticed the
· · · deposition and that all parties who ordered
16· · copies have been charged at the same rate
· · · for such copies;
17· · · · · · ·That the reading and signing of the
· · · deposition was not waived;
18· · · · · · ·That I am not related to nor an
· · · employee of any of the attorneys or parties
19· · hereto, nor a relative or employee of any
· · · attorney employed by the parties hereto, nor
20· · financially interested in the outcome of the
· · · action and have no contract with parties,
21· · attorneys or persons with an interest
· · · in the action that affect or has a
22· · substantial tendency to affect my
· · · impartiality;
23· · · · · · ·WITNESS MY HAND AND SEAL this 11th
· · · day of April, 2022.
24
· · ·_____________
25· ·Kathy Stewart
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